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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

In Re: TAXOTERE (DOCETAXEL)                                                 MDL NO. 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                            SECTION “N” (5)

THIS DOCUMENT RELATES TO
ALL CASES

                                  PLAINTIFF FACT SHEET

        This Fact Sheet must be completed by each plaintiff who has filed a lawsuit related to the
use of Taxotere® by the plaintiff or a plaintiff’s decedent. Please answer every question to the
best of your knowledge. In completing this Fact Sheet, you are under oath and must provide
information that is true and correct to the best of your knowledge. If you cannot recall all of the
details requested, please provide as much information as you can. You must supplement your
responses if you learn that they are incomplete or incorrect in any material respect.

        In filling out this form, please use the following definitions: (1) “healthcare provider”
means any hospital, clinic, medical center, physician’s office, infirmary, medical or diagnostic
laboratory, or other facility that provides medical, dietary, psychiatric, or psychological care or
advice, and any pharmacy, weight loss center, x-ray department, laboratory, physical therapist or
physical therapy department, rehabilitation specialist, physician, psychiatrist, osteopath,
homeopath, chiropractor, psychologist, nutritionist, dietician, or other persons or entities
involved in the evaluation, diagnosis, care, and/or treatment of the plaintiff or plaintiff’s
decedent; (2) “document” means any writing or record of every type that is in your possession,
including but not limited to written documents, documents in electronic format, cassettes,
videotapes, photographs, charts, computer discs or tapes, and x-rays, drawings, graphs, phone-
records, non-identical copies, and other data compilations from which information can be
obtained and translated, if necessary, by the respondent through electronic devices into
reasonably usable form.

        Information provided by plaintiff will only be used for purposes related to this
litigation and may be disclosed only as permitted by the protective order in this litigation.
This Fact Sheet is completed pursuant to the Federal Rules of Civil Procedure governing
discovery (or, for state court case, the governing rules of civil of the state in which the case
is pending).

I. CASE INFORMATION

Attorney Information

               Please provide the following information for the civil action that you filed:


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               1. Caption:

               2. Court and Docket No.:

               3. MDL Docket No. (if different):

               4. Date Lawsuit Filed:

               5. Plaintiff’s Attorney:

               6. Plaintiff’s Law Firm:

               7. Attorney’s Address:

               8. Attorney’s Phone Number:

               9. Attorney’s Email Address:

Plaintiff Information

               Please provide the following information for the individual on whose behalf this
               action was filed:

               10. Name:_________________________________________________________

               11. Street Address:

               12. City:__________________________________________________________

               13. State:

               14. Zip code:

               15. Date of Birth:

               16. Place of Birth:

               17. Social Security Number:

               18. Maiden or other names you have used or by which you have been known:

                  _______________________________________________________________

               19. Sex: Male: ☐ Female: ☐

               20. Race:

                                     Race                        ☐
                    American Indian or Alaska Native             ☐


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                                      Race                         ☐
                   Asian                                           ☐
                   Black or African American                       ☐
                   Native Hawaiian or Other Pacific Islander       ☐
                   White                                           ☐


              21. Ethnicity:

                                   Ethnicity                       ☐
                   Hispanic or Latino                              ☐
                   Not Hispanic or Latino                          ☐


              22. Primary Language:          __________________________________________

Representative Information

              If you are completing this questionnaire in a representative capacity (e.g., on
              behalf of the estate of a deceased person), please state the following:

              23. Name:_________________________________________________________

              24. Address:

              25. Capacity in which you are representing the individual:___________________

              26. If you were appointed as a representative by a court, identify the State, Court
                  and Case Number:

                     a) State:______________________

                     b) Court:_____________________

                     c) Case Number:_______________

              27. Relationship to the Represented Person:_______________________________

              28. State the date of death of the decedent:_______________________________

              29. State the place of death of the decedent:_______________________________

              30. Are you filling this questionnaire out on behalf of an individual who is
                  deceased and on whom an autopsy was performed? Yes ☐ No☐




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If you are completing this questionnaire in a representative capacity, please respond to these
questions with respect to the person whose medical treatment involved Taxotere® or Docetaxel.

II. PERSONAL INFORMATION

Relationship Information

              1. Are you currently: Married: ☐ Single: ☐ Engaged: ☐ Significant other: ☐
                 Divorced: ☐ Widowed: ☐ Same sex partner: ☐

              2. Have you ever been married? Yes ☐ No☐

              3. If yes, for EACH marriage, state the following:

                                                           Date
                                                 Date of                  Nature of
                      Spouse’s Name                      Marriage
                                                Marriage                 Termination
                                                          Ended




Education

              4. For each level of education you completed, please check below:

              High School: ☐                    Vocational School: ☐

              College: AA: ☐ BA/BS: ☐ Masters: ☐ PhD: ☐ M.D.: ☐ Other:

Employment
              5. Are you currently employed? Yes ☐ No☐

              6. If yes, state the following:

                     a) Current employer name:_____________________________________

                     b) Address:_________________________________________________

                     c) Telephone number:_________________________________________

                     d) Your position there:________________________________________

              7. Are you making a claim for lost wages or lost earning capacity? Yes ☐ No☐

              8. Only if you are asserting a wage loss claim, please state the following for
                 EACH employer for the last seven (7) years:




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                                                                            Annual
                       Name of           Address of           Dates of                   Your
                                                                             Gross
                       Employer          Employer            Employment                 Position
                                                                            Income




              9. Have you ever been out of work for more than thirty (30) days for reasons
                 related to your health in the last seven (7) years? Yes ☐ No☐

              10. If yes, please state the following:

                     Name of Employer                Dates         Health Reason




       YOU MUST ATTACH TAX RETURNS, EMPLOYMENT AUTHORIZATIONS, AND
       IDENTIFY THE LOSS OF CONSORTIUM PLAINTIFF’S EMPLOYERS IF
       CLAIMING LOST WAGES OR LOST EARNING CAPACITY DAMAGES.

Worker’s Compensation and Disability Claims

              11. Within the last ten (10) years, have you ever filed for workers’ compensation,
                  social security, and/or state or federal disability benefits? Yes ☐ No☐

              12. If yes, then as to EACH application, please state the following:

                   Year Claim                        Nature of Claimed     Period of    Award
                                     Court
                     Filed                                Injury           Disability   Amount




Military Service

              13. Have you ever served in any branch of the military? Yes ☐ No☐

              14. If yes, state the branch and dates of service:

                           Branch                Dates of Service




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               15. If yes, were you discharged for any reason relating to your health (whether
                   physical, psychiatric, or other health condition)? Yes ☐ No☐

               16. If yes, state the condition:__________________________________________

Other Lawsuits


               17. Within the last ten (10) years, have you filed a lawsuit, relating to any bodily
                   injury, or made a claim, OTHER THAN the present suit? Yes ☐ No ☐


Computer Use

               18. Apart from communications to or from your attorney, have you
                   communicated via email, visited any chat rooms, or publicly posted a
                   comment, message or blog entry on a public internet site regarding your
                   experience with or injuries you attribute to Taxotere®, other chemotherapies,
                   or alopecia/hair loss during the past ten (10) years? You should include all
                   postings on public social network sites including Twitter, Facebook,
                   MySpace, LinkedIn, or “blogs” that address the topics above. Yes ☐ No☐

               19. If yes, please state the following:

                                           Screen Name or          Date of
                      Forum Name                                                   Substance of Post
                                            User Handle             Post




               20. Are you now or have you ever been a member of an alopecia support group?
                   Yes ☐ No☐

                       a) If yes, identify the group by name:_____________________________

                       b) When did you join the group?_________________________________

III. PRODUCT IDENTIFICATION

      I HAVE RECORDS DEMONSTRATING USE OF TAXOTERE® OR OTHER
                       DOCETAXEL: Yes ☐ No☐

      YOU MUST UPLOAD THEM BEFORE YOU SUBMIT THIS FACT SHEET

Taxotere®
               1. Were you treated with brand name Taxotere®? Yes ☐ No ☐ Unknown ☐



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Other Docetaxel
             2. Were you treated with another Docetaxel or generic Taxotere®? Yes ☐ No☐

                   3. If yes, select all that apply:

                                                 Name of Drug
                        Docetaxel – Sanofi-Aventis U.S. LLC d/b/a Winthrop US                 ☐
                        Docetaxel – McKesson Corporation d/b/a McKesson Packaging             ☐
                        Docetaxel – Actavis LLC f/k/a Actavis Inc. / Actavis Pharma, Inc.     ☐
                        Docetaxel – Pfizer Inc.                                               ☐
                        Docetaxel – Sandoz Inc.                                               ☐
                        Docetaxel – Accord Healthcare, Inc.                                   ☐
                        Docetaxel – Hospira Worldwide, LLC f/k/a Hospira Worldwide,           ☐
                        Inc. / Hospira, Inc.
                        Docefrez – Sun Pharma Global FZE                                      ☐
                        Docefrez – Sun Pharmaceutical Industries, Inc. f/k/a Caraco           ☐
                        Pharmaceutical Laboratories, Ltd.
                        Docetaxel – Teva Parenteral Medicines, Inc.                           ☐
                        Docetaxel – Dr. Reddy’s Laboratories Limited                          ☐
                        Docetaxel – Eagle Pharmaceuticals, Inc.                               ☐
                        Docetaxel – Northstar Rx LLC                                          ☐
                        Docetaxel – Sagent Pharmaceuticals, Inc.                              ☐
                        Unknown                                                               ☐

                   4. IF YOU SELECTED “UNKNOWN” YOU MUST CERTIFY AS
                      FOLLOWS:

                       I certify that I have made reasonable, good faith efforts to identify the
                       manufacturer of the Docetaxel used in my treatment, including
                       requesting records from my infusion pharmacy, and the manufacturer
                       either remains unknown at this time or I am awaiting the records: ☐

IV. MEDICAL INFORMATION

Vital Statistics

                   1. How old are you:_________________________________________________

                   2. Age at the time of your alleged injury:________________________________

                   3. Current weight:__________________________________________________

                   4. Current height:




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                 Feet:_______________      Inches:_______________

              5. Weight at time of alleged injury:____________________________________

Gynecologic and Obstetric History

              6. Have you ever been pregnant? Yes ☐ No ☐

                     a) Number of pregnancies:________

                     b) Number of live births:_________

              7. If you have children, please state the following for EACH child:

                        Child’s Name               Address        Date of Birth




              8. Date of first period (menses):_________          Age:_________

              9. Date of last period (menses): _________          Age:_________

              10. Are you menopausal, perimenopausal or postmenopausal? Yes ☐ No☐

              11. For EACH year for the last seven (7) years before your first treatment with
                  Taxotere® or Docetaxel and since then, who did you see for your annual
                  gynecological exam? Also indicate whether an annual exam was skipped or
                  missed.

                                                                                    Skipped or
                           Doctor                 Office           Year
                                                                                      Missed
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐
                                                                                        ☐

              12. For EACH year after age 40, or before then if applicable, who did you see for
                  your annual mammogram? Also indicate whether an annual mammogram was
                  skipped or missed.

                                                                                  Skipped or
                           Doctor                 Office           Year
                                                                                    Missed


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                                                                                   Skipped or
                            Doctor                  Office           Year
                                                                                     Missed
                                                                                       ☐
                                                                                       ☐
                                                                                       ☐
                                                                                       ☐
                                                                                       ☐
                                                                                       ☐
                                                                                       ☐
Other Risk Factors

               13. Have any family members been diagnosed with breast cancer?

                       Family Member            Diagnosed       Age at Diagnosis
                  Mother                           ☐
                  Sister                           ☐
                  Daughter                         ☐
                  Paternal grandmother             ☐
                  Maternal grandmother             ☐

               14. Have you ever been diagnosed as having genes or gene mutations that carry
                   an increased cancer risk (e.g., BRCA1, BRCA2)? Yes ☐ No☐

                      a) If yes, which?                                            ____________

               15. Did you receive radiation treatments or exposure to radiation before the age of
                   30? Yes ☐ No☐

                      a) If yes, describe the particulars of your treatment or exposure:
                         _________________________________________________________

Tobacco Use History

For the ten (10) year period before your use of Taxotere® or Docetaxel up to the present, check
the answer and fill in the blanks applicable to your history of tobacco use, including cigarettes,
cigars, pipes, and/or chewing tobacco/snuff.

               16. I currently use tobacco: Yes ☐ No☐

               17. I have never used tobacco: Yes ☐ No☐

               18. I used tobacco in the ten (10) years before Taxotere® or Docetaxel treatment:
                   Yes ☐ No☐

               19. Identify types of tobacco use:


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                                                                             Duration of
                             Type             Used     Average Per Day
                                                                             Use (Years)
                   Cigarettes                   ☐
                   Cigars                       ☐
                   Pipes                        ☐
                   Chewing tobacco/snuff        ☐

Prescription Medications

              20. Apart from chemotherapy, are there prescription or over-the-counter
                  medications that you took on a regular basis or more than three (3) times in
                  the seven (7) year period before you first took Taxotere®? Yes ☐ No ☐

                 For purposes of this question, “regular basis” means that you were directed
                 by a healthcare provider to take a medication for at least forty-five (45)
                 consecutive days.

              21. If yes, please provide the following for EACH prescription medication:

                           Medication                Prescriber                Dates Taken




V. CANCER DIAGNOSIS AND TREATMENT

Cancer Diagnosis & Treatment Generally

              1. Have you ever been diagnosed with cancer? Yes ☐ No☐

              2. Were you diagnosed with cancer more than once? Yes ☐ No☐

              3. Did you undergo any of the following for cancer?

                       Treatment           Treated
                   Surgery                   ☐
                   Radiation                 ☐
                   Chemotherapy              ☐

              4. For surgery, specify:

                        Type of Surgery            Treated
                   Double mastectomy                 ☐
                   Left-side mastectomy              ☐
                   Right-side mastectomy             ☐



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                    Lumpectomy                     ☐
                    Other:_________________        ☐

             5. Please state the following for EACH cancer diagnosis:

Type of Cancer
Date of Diagnosis
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:


Type of Cancer
Date of Diagnosis
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:




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Type of Cancer
Date of Diagnosis
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Primary Oncologist
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:
                        Name:
                        Address:
Treatment Facility
                        Dates of Treatment:
                        Treatment:

Particulars of Chemotherapy

              6. When were you first diagnosed with the condition for which you were
                 prescribed Taxotere® or Docetaxel?__________________________________

              7. What was the diagnosis for which you were prescribed Taxotere® or
                 Docetaxel?

                             Diagnosis              Diagnosed
                    Breast cancer                      ☐
                    Non-small cell lung cancer         ☐
                    Prostate cancer                    ☐
                    Gastric adenocarcinoma             ☐
                    Head and neck cancer               ☐
                    Other:_________________            ☐

              8. For breast cancer, specify:



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                a) Tumor size:

                                  Tumor Size                      Yes
                     TX                                           ☐
                     T0                                           ☐
                     Tis                                          ☐
                     T1                                           ☐
                     T2                                           ☐
                     T3                                           ☐
                     T4 (T4a, T4b, T4c, T4d)                      ☐

                b) Metastasis:

                c) Node involvement:

                                     Node                           Yes
              Node + NX                                             ☐
              Node + N0                                             ☐
              Node + N1                                             ☐
              Node + N2                                             ☐
              Node + N3                                             ☐
              Node – (negative)                                     ☐

                d) HER2: + (positive): ☐ - (negative): ☐

                e) Estrogen receptor: Positive (ER+): ☐ Negative (ER-): ☐

                f) Progesterone receptor: Positive (PR+): ☐ Negative (PR-): ☐

         9. Was Taxotere® or Docetaxel the only chemotherapy treatment that you ever
            received? Yes ☐ No☐ Unknown ☐

         10. Have you ever been treated with other chemotherapy drugs, either alone or in
             combination with or sequentially with Taxotere® or Docetaxel? Yes ☐ No☐
             Unknown ☐

         11. If yes, check which of the following chemotherapy drugs you took:

                               Drug                         Yes
             5-Fluorouracil (Eludex)                        ☐
             Actinomycin                                    ☐
             Altretamine (Hexalen)                          ☐
             Amsacrine                                      ☐
             Bleomycin                                      ☐


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                               Drug                   Yes
            Busulfan (Busulfex, Myleran)              ☐
            Cabazitaxel: Mitoxantrone                 ☐
            Carboplatin (Paraplatin)                  ☐
            Carmustine (BiCNU, Gliadel)               ☐
            Cetuximab (Erbitux)                       ☐
            Chlorambucil (Leukeran)                   ☐
            Cisplatin (Platinol)                      ☐
            Cyclophosphamide (Neosar)                 ☐
            Cytarabine (Depocyt)                      ☐
            Dacarbazine                               ☐
            Daunorubicin (Cerubidine, DaunoXome)      ☐
            Doxorubicin (Adriamycin, Doxil)           ☐
            Epirubicin (Ellence)                      ☐
            Erlotinib (Tarceva)                       ☐
            Etoposide (Etopophos, Toposar)            ☐
            Everolimus (Afinitor, Zortress)           ☐
            Faslodex (Fulvestrant)                    ☐
            Gemcitabine (Gemzar)                      ☐
            Hexamethylmelamine (Hexalen)              ☐
            Hydroxyurea (Hydrea, Droxia)              ☐
            Idarubicin (Idamycin)                     ☐
            Ifosfamide (Ifex)                         ☐
            L-asparginase (crisantaspase)             ☐
            Lomustine (Ceenu)                         ☐
            Melphalan (Alkeran)                       ☐
            Mercaptopurine (Purinethol, Purixan)      ☐
            Methotrexate (Trexall, Rasuvo)            ☐
            Mitomycin                                 ☐
            Mitoxantrone                              ☐
            Nab-paclitaxel (Abraxane): Mitoxantrone   ☐
            Nitrogen mustard                          ☐
            Paclitaxel (Taxol)                        ☐
            Panitumumab (Vectibix)                    ☐
            Procarbazine (Matulane)                   ☐
            Sorafenib (Nexavar)                       ☐
            Teniposide (Vumon)                        ☐
            Thioguanine (Tabloid)                     ☐
            Thiotepa (Tepadina)                       ☐
            Topotecan (Hycamtin)                      ☐


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                               Drug                           Yes
             Vemurafenib (Zelboraf)                           ☐
             Vinblastine                                      ☐
             Vincristine (Mariqibo, Vincasar)                 ☐
             Vindesine                                        ☐
             Vinorelbine (Alocrest, Navelbine)                ☐
             Unknown                                          ☐

         12. Please provide the following information regarding Taxotere® or Docetaxel:

                a) Number of cycles:

                b) Frequency: Every week ☐ Every three weeks ☐ Other:____________

                c) First treatment date:________

                d) Last treatment date:________

                e) Dosage:______________

                        (1) Combined with another chemotherapy drug: ☐

                        (2) Sequential with another chemotherapy drug: ☐

                        (3) If so, describe the combination or sequence:

         13. Prescribing Physician(s):

                    Prescribing Physician                      Address
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:
                                                    Street:
                                                    City:
                                                    State:
                                                    Zip:

         14. Treatment Facility:

                      Treatment Facility                       Address
                                                    Street:


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                                                              City:
                                                              State:
                                                              Zip:
                                                              Street:
                                                              City:
                                                              State:
                                                              Zip:
                                                              Street:
                                                              City:
                                                              State:
                                                              Zip:

                 15. Identify EACH state where you resided when you began and while taking
                     Taxotere® or Docetaxel:

                                  State                  From Date             To Date




                 16. Was your Taxotere® or Docetaxel treatment part of a clinical trial? Yes ☐ No
                     ☐ Unknown ☐

                 17. If yes, please provide the name and location of the trial site:

                        a) Name of trial site:__________________________________________

                        b) Location of trial site:________________________________________

VI. CLAIM INFORMATION

Current Status

                 1. Are you currently taking Taxotere® or Docetaxel? Yes ☐ No☐

                 2. Are you currently cancer-free? Yes ☐ No☐

                 3. If no, check those that apply to your CURRENT status:

                                      Current Status                        Yes
                      In remission                                          ☐
                      Currently receiving chemotherapy                      ☐
                      Currently receiving radiation therapy                 ☐
                      Currently hospitalized for cancer or cancer-
                                                                             ☐
                      related complications
                      Currently in home health or hospice care for           ☐


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                                    Current Status                       Yes
                     cancer or cancer-related complications
                     Cancer returned after taking Taxotere® or
                                                                          ☐
                     Docetaxel

                 4. When was the last (most recent) date you consulted with an oncologist:_____

Alleged Injury

                 5. State the injury you allege in this lawsuit and the dates between which you
                    experienced the alleged injury. Check all that apply:

                                          Alleged Injury                      Yes No From To
                     Persistent total alopecia – No hair growth on your head
                     or body after six (6) months of discontinuing Taxotere® ☐ ☐
                     or Docetaxel treatment
                     Persistent alopecia of your head – No hair growth on
                     your head after six (6) months of discontinuing
                                                                              ☐ ☐
                     Taxotere® or Docetaxel treatment. Hair is present
                     elsewhere on your body
                     Permanent/Persistent Hair Loss on Scalp                  ☐ ☐
                     Diffuse thinning of hair: partial scalp
                             ☐ Top
                             ☐ Sides
                                                                              ☐ ☐
                             ☐ Back
                             ☐ Temples
                             ☐ Other:_____________________________
                     Diffuse thinning of hair: total scalp
                             ☐ Top
                             ☐ Sides
                                                                              ☐ ☐
                             ☐ Back
                             ☐ Temples
                             ☐ Other:_____________________________
                     Significant thinning of the hair on your head after six
                     (6) months of discontinuing Taxotere® or Docetaxel
                                                                              ☐ ☐
                     treatment – There are visible bald spots on your head
                     no matter how you style your hair
                     Moderate thinning of the hair on your head after six (6)
                     months of discontinuing Taxotere® or Docetaxel
                                                                              ☐ ☐
                     treatment – There is noticeable hair loss but if you
                     brush or style your hair, the hair loss is less evident
                     Small bald area in the hair on your head                 ☐ ☐
                     Large bald area in the hair on your head                 ☐ ☐
                     Multiple bald spots in the hair on your head             ☐ ☐



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                                      Alleged Injury                     Yes No From To
                  Change in the texture, thickness or color of your hair
                                                                         ☐ ☐
                  after Taxotere® or Docetaxel treatment
                  Other:______________________________________           ☐ ☐
                  Permanent/Persistent Loss of Eyebrows                  ☐ ☐
                  Permanent/Persistent Loss of Eyelashes                 ☐ ☐
                  Permanent/Persistent Loss of Body Hair                 ☐ ☐
                  Permanent/Persistent Loss of Genital Hair              ☐ ☐
                  Permanent/Persistent Loss of Nasal Hair                ☐ ☐
                  Permanent/Persistent Loss of Ear Hair                  ☐ ☐
                  Permanent/Persistent Loss of Hair in Other Areas
                                                                         ☐ ☐
                  Describe:_____________________________________

             6. Have you ever received treatment for the injury you allege in this lawsuit? Yes
                ☐ No☐

                    Name of Treating Physician          Dates of Treatment         Treatments




             7. Were you diagnosed by a healthcare provider for the injury you allege in this
                lawsuit? Yes ☐ No☐

                    Name of Treating Physician          Dates of Treatment         Treatments




             8. Have you discussed with any healthcare provider whether Taxotere ® or Docetaxel
                caused or contributed to your alleged injury? Yes ☐ No☐

                  Name of Treating Physician            Dates of Treatment         Treatments




Statement Information

             9. Were you ever given any written instructions, including any prescriptions,
                packaging, package inserts, literature, medication guides, or dosing
                instructions, regarding chemotherapy, Taxotere® or Docetaxel? Yes ☐ No☐




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         10. If yes, please describe the documents, if you no longer have them. If you have
             the documents, please produce them:

                                                            I Have the      I Do Not Have
                      Description of Document
                                                            Documents       the Documents
                                                                ☐                 ☐
                                                                ☐                 ☐
                                                                ☐                 ☐

         11. Were you given any oral instructions from a healthcare provider regarding
             chemotherapy or your use of Taxotere® or Docetaxel? Yes ☐ No☐

         12. If yes, please identify each healthcare provider who provided the oral
             instructions:

                    Name of Healthcare Provider




         13. Have you ever seen any advertisements (e.g., in magazines or television
             commercials) for Taxotere® or Docetaxel? Yes ☐ No☐

         14. If yes, identify the advertisement or commercial, and approximately when you
             saw the advertisement or commercial:

                                                                Date of Advertisement or
                 Type of Advertisement or Commercial
                                                                      Commercial




         15. Other than through your attorneys, have you had any communication, oral or
             written, with any of the Defendants or their representatives? Yes ☐ No☐

         16. If yes, please identify:

                  Date of                 Method of       Name of       Substance of
               Communication            Communication   Representative Communication




         17. Have you filed a MedWatch Adverse Event Report to the FDA? Yes ☐ No☐




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   YOU MUST UPLOAD NOW ANY MEDICAL RECORDS IN YOUR POSSESSION
   DEMONSTRATING ALLEGED INJURY OR PHOTOGRAPHS SHOWING YOUR
   HAIR BEFORE AND AFTER TREATMENT WITH TAXOTERE® ALONG WITH
   THE DATE(S) THE PHOTOGRAPHS WERE TAKEN.

Other Claimed Damages

            18. Mental or Emotional Damages: Do you claim that your use of Taxotere® or
                Docetaxel caused or aggravated any psychiatric or psychological condition?
                Yes ☐ No☐

            19. If yes, did you seek treatment for the psychiatric or psychological condition?
                Yes ☐ No☐

                         Provider                   Date                  Condition




            20. Medical Expenses: Do you claim that you incurred medical expenses for the
                alleged injury that you claim was caused by Taxotere® or Docetaxel? Yes ☐
                No☐

            21. If yes, list all of your medical expenses, including amounts billed or paid by
                insurers and other third-party payors, which are related to any alleged injury
                you claim was caused by Taxotere® or Docetaxel:

                         Provider                   Date                   Expense




            22. Lost Wages: Do you claim that you lost wages or suffered impairment of
                earning capacity because of the alleged injury that you claim was caused by
                Taxotere® or Docetaxel? Yes ☐ No☐

            23. If yes, state the annual gross income you earned for each of the three (3) years
                before the injury you claim was caused by Taxotere® or Docetaxel.

                         Year                     Annual Gross Income




            24. State the annual gross income for every year following the injury or condition
                you claim was caused by Taxotere® or Docetaxel.



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                         Year                     Annual Gross Income




             25. Out-of-Pocket Expenses: Are you making a claim for lost out-of-pocket
                 expenses? Yes ☐ No☐

             26. If yes, please identify and itemize all out-of-pocket expenses you have
                 incurred:

                             Expense                  Expense Amount




VII.   HAIR LOSS INFORMATION

Background
             1. Did you ever see a healthcare provider for hair loss BEFORE taking
                Taxotere® or Docetaxel? Yes ☐ No ☐

             2. Did your hair loss begin during chemotherapy treatment? Yes ☐ No☐

             3. If yes, did you FIRST experience hair loss:

                    a) After treatment with another chemotherapy agent: ☐

                    b) After treatment with Taxotere® or Docetaxel: ☐

             4. At any time before or during the hair loss were you:

                             Condition                  Yes            Description
                 Pregnant                                ☐
                 Seriously ill                           ☐
                 Hospitalized                            ☐
                 Under severe stress                     ☐
                 Undergoing treatment for any
                                                         ☐
                 other medical condition

             5. When did you FIRST discuss with or see a healthcare provider about your hair
                loss? __________________________________________________________

             6. Have you started any special diets at any time before or during the hair loss?
                Yes ☐ No ☐ Describe:___________________________________________



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Hair Loss History

                                                                                      Name of Healthcare
                                 Question                            No       Yes
                                                                                          Provider
           Have you had a biopsy of your scalp to evaluate           ☐        ☐
           your hair loss problem?
           Have you had blood tests done to evaluate your hair       ☐        ☐
           loss problem?
           Have your hormones ever been checked to evaluate          ☐        ☐
           your hair loss problem?
           Have you ever been told by a doctor that you have a       ☐        ☐
           thyroid condition?
           Have you ever been treated with thyroid hormone?          ☐        ☐
           Have you ever been told by a doctor that you have a       ☐        ☐
           low iron level?

              7. Have you ever been on endocrine or hormonal therapy, either before or after
                 chemotherapy with Taxotere® or Docetaxel? Yes ☐ No☐

              8. If yes, please identify:

                                                    Dates of
                       Treating Physician                                 Treatment
                                                   Treatment




              9. Do you have any autoimmune diseases? Yes ☐ No☐

              10. If yes, check the following which describes you:

                          Autoimmune Disease             Yes
                    Lupus                                 ☐
                    Rheumatoid arthritis                  ☐
                    Celiac disease                        ☐
                    Type 1 diabetes                       ☐
                    Sjogrens disease                      ☐
                    Vitiligo                              ☐
                    Hashimoto’s                           ☐
                    Other:_____________________           ☐

              11. Were you taking any medications when your hair loss began? Yes ☐ No☐




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                            Medication



Hair Care

            12. How often do you wash/shampoo your hair? Every ______ days

            13. Check any of the following that apply to you currently or that have in the past:

                                                             Period of
                         Hair Treatment              Yes                            Frequency
                                                               Time
                                                                          ☐ Never
                Hair chemically processed or                              ☐ Once a week
                straightened (relaxers, keratin,                          ☐ 2-3 times a week
                                                      ☐
                Brazilian blowout, Japanese                               ☐ Once a month
                straightening, other)                                     ☐ Once every 1-2 months
                                                                          ☐ A few times a year
                                                                          ☐ Never
                                                                          ☐ Once a week
                Hair heat processed or
                                                                          ☐ 2-3 times a week
                straightened (blow drying/ flat       ☐
                ironing, curling)                                         ☐ Once a month
                                                                          ☐ Once every 1-2 months
                                                                          ☐ A few times a year
                                                                          ☐ Never
                                                                          ☐ Once a week
                                                                          ☐ 2-3 times a week
                Hair dyed                             ☐
                                                                          ☐ Once a month
                                                                          ☐ Once every 1-2 months
                                                                          ☐ A few times a year
                                                                          ☐ Never
                                                                          ☐ Once a week
                                                                          ☐ 2-3 times a week
                Hair highlighted                      ☐
                                                                          ☐ Once a month
                                                                          ☐ Once every 1-2 months
                                                                          ☐ A few times a year
                                                                          ☐ Never
                                                                          ☐ Once a week
                                                                          ☐ 2-3 times a week
                Braids                                ☐
                                                                          ☐ Once a month
                                                                          ☐ Once every 1-2 months
                                                                          ☐ A few times a year



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                                                                         ☐ Never
                                                                         ☐ Once a week
                                                                         ☐ 2-3 times a week
                  Weaves                              ☐
                                                                         ☐ Once a month
                                                                         ☐ Once every 1-2 months
                                                                         ☐ A few times a year
                                                                         ☐ Never
                                                                         ☐ Once a week
                                                                         ☐ 2-3 times a week
                  Tight hairstyles (ponytails)        ☐
                                                                         ☐ Once a month
                                                                         ☐ Once every 1-2 months
                                                                         ☐ A few times a year
                                                                         ☐ Never
                                                                         ☐ Once a week
                                                                         ☐ 2-3 times a week
                  Extensions                          ☐
                                                                         ☐ Once a month
                                                                         ☐ Once every 1-2 months
                                                                         ☐ A few times a year
                                                                         ☐ Never
                                                                         ☐ Once a week
                                                                         ☐ 2-3 times a week
                  Other:_____________________         ☐
                                                                         ☐ Once a month
                                                                         ☐ Once every 1-2 months
                                                                         ☐ A few times a year

             14. Have you ever used the following?

                                Hair Treatment                     Yes
                  WEN Cleansing Conditioners                        ☐
                  Unilever Suave Professionals Keratin Infusion     ☐
                  L’Oréal Chemical Relaxer                          ☐

             15. Has your hair care regimen been different in the past? Yes ☐ No☐

                      a) If yes, describe:____________________________________________

Hair Loss Treatment

             16. Did you use any other methods to prevent hair loss during chemotherapy?




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                            Hair Treatment                         Yes
              Folic Acid supplementation                            ☐
              Minoxidil                                             ☐
              Other:___________________________                     ☐

         17. Did you wear a cool cap during chemotherapy treatment? Yes ☐ No☐

         18. If yes, which cooling cap did you wear: ______________________________

         19. Have you used any over-the-counter medications, supplements, or cosmetic
             aides for your hair loss? Yes ☐ No☐

         20. If yes, please state the following:

                                                   When was     How long did
                        Treatment                                               Did it help?
                                                    it tried?    you try it?
                                                                               ☐ Yes
                                                                               ☐ No
                                                                               ☐ Yes
                                                                               ☐ No
                                                                               ☐ Yes
                                                                               ☐ No

         21. Has anything helped your hair loss? Yes ☐ No☐

         22. If yes, please specify:

                                                    Dates of     Place of
                    Type of Product                                            Results of Use
                                                     Use         Purchase




         23. As of the date you verify your PFS, how long have you had alopecia or
             incomplete hair re-growth?_________________________________________

         24. Has any hair regrowth occurred? Yes ☐ No☐

         25. Have you ever worn a wig to conceal your hair loss? Yes ☐ No☐

         26. Specify:




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                                                                          Place
                          Dates Used             Period of Use                             Cost of Item
                                                                        Purchased




VIII. RECORD HOLDER IDENTIFICATION

Healthcare Providers:

                1. Identify each physician, doctor, or other healthcare provider who has provided
                   treatment to you for any reason in the past eight (8) years and the reason for
                   consulting the healthcare provider or mental healthcare provider.

YOU MUST INCLUDE YOUR ONCOLOGIST, RADIOLOGIST, DERMATOLOGIST,
DERMATOLOGIST-PATHOLOGIST, HAIR LOSS SPECIALIST, GYNECOLOGIST,
OBSTETRICIAN, AND PRIMARY CARE PHYSICIAN, ALONG WITH ANY OTHER
HEALTHCARE PROVIDERS IDENTIFIED ABOVE

                                                                                      Reason for
      Name           Area or Specialty        Address                Dates
                                                                                     Consultation




Hospitals, Clinics, and Other Facilities:


                2. Identify each hospital, clinic, surgery center, physical therapy or rehabilitation
                   center, or other healthcare facility where you have received inpatient or outpatient
                   treatment (including emergency room treatment) in the past eight (8) years:


YOU MUST INCLUDE THE LOCATIONS FOR SURGERIES, RADIOLOGY,
IMAGING, BIOPSIES, CHEMOTHERAPY, CHILD BIRTHS, GYNECOLOGIC
PROCEDURES OR TREATMENT, ALONG WITH ANY OTHER HEALTHCARE
FACILITIES

         Name                     Address                Dates            Reason for Treatment




Laboratories:

                3. Identify each laboratory at which you had tests run in the past ten (10) years:



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      Name                Address              Dates                Test          Reason for Tests




Pharmacies:

                4. To the best of your recollection, Identify each pharmacy, drugstore, and/or other
                   supplier (including mail order) where you have had prescriptions filled or from
                   which you have ever received any prescription medication within three (3) years
                   prior to and three (3) years after your first treatment with Taxotere:

         Name                    Address                    Dates                 Medications




Retailers:

                5. Identify each pharmacy, drugstore, and/or other retailer (including mail order)
                   where you have purchased over-the-counter medications, or hair products in the
                   past ten (10) years:

         Name                    Address                    Dates                  Purchases




Insurance Carriers:

                6. Identify each health insurance carrier which provided you with medical coverage
                   and/or pharmacy benefits for the last ten (10) years:

                                           Name of Insured                               Dates of
      Carrier              Address                                Policy Number
                                              & SSN                                      Coverage




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IX. DOCUMENT REQUESTS AND AUTHORIZATIONS

   Please state which of the following documents you have in your possession. If you do not
   have the following documents but know they exist in the possession of others, state who has
   possession of the documents: Produce all documents in your possession (including writings
   on paper or in electronic form) and signed authorizations and attach a copy of them to this
   PFS.

Requests

                                                                         If No, who has the
                  Type of Document(s)                         Yes   No
                                                                            document(s)?
Documents you reviewed to prepare your answers to this
Plaintiff Fact Sheet.
Your attorney may withhold some documents on claims of        ☐     ☐
attorney-client privilege or work product protection and,
if so, provide a privilege log
Medical records or other documents related to the use of
Taxotere® or Docetaxel at any time for the past twelve        ☐     ☐
(12) years.
Medical records or other documents related to your
treatment for any disease, condition or symptom
                                                              ☐     ☐
referenced above for any time in the past twelve (12)
years.
Laboratory reports and results of blood tests performed
                                                              ☐     ☐
on you related to your hair loss.
Pathology reports and results of biopsies performed on
you related to your hair loss.
Plaintiffs or their counsel must maintain the slides and/or
                                                              ☐     ☐
specimens requested in this subpart, or send a
preservation notice, copying Defendants, to the
healthcare facility where these items are maintained.
Documents reflecting your use of any prescription drug
                                                              ☐     ☐
or medication at any time within the past eight (8) years.
Documents identifying all chemotherapy agents that you
                                                              ☐     ☐
have taken.
Documents for any workers' compensation, social
security or other disability proceeding at any time within    ☐     ☐
the last five (5) years.
Instructions, product warnings, package inserts, handouts
or other materials that you were provided or obtained in      ☐     ☐
connection with your use of Taxotere®.
Advertisements or promotions for Taxotere®.                   ☐     ☐
Articles discussing Taxotere®.                                ☐     ☐




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                                                                         If No, who has the
                  Type of Document(s)                         Yes   No
                                                                            document(s)?
Any packaging, container, box, or label for Taxotere® or
Docetaxel that you were provided or obtained in
connection with your use of Taxotere®.                        ☐     ☐
Plaintiffs or their counsel must maintain the originals of
these items.
Documents which mention Taxotere® or Docetaxel or
any alleged health risks related to Taxotere®.
Your attorney may withhold some legal documents,
documents provided by your attorney, or documents
                                                              ☐     ☐
obtained or created for the purpose of seeking legal
advice or assistance on claims of attorney-client
privilege or work product protection and, if so, provide a
privilege log.
Documents obtained directly or indirectly from any of the
                                                              ☐     ☐
Defendants.
Communications or correspondence between you and any
                                                              ☐     ☐
representative of the Defendants.
Photographs, drawing, slides, videos, recordings, DVDs,
or any other media that show your alleged injury or its       ☐     ☐
effect in your life.
Journals or diaries related to the use of Taxotere® or
Docetaxel or your treatment for any disease, condition or
                                                              ☐     ☐
symptom referenced above at any time for the past
twelve (12) years.
Social media or internet posts to or through any site
(including, but not limited to, Facebook, MySpace,
LinkedIn, Google Plus, Windows Live, YouTube,
                                                              ☐     ☐
Twitter, Instagram, Pinterest, blogs, and Internet chat
rooms/message boards) relating to Taxotere® or
Docetaxel or any of your claims in this lawsuit.
If you claim you have suffered a loss of earnings or
earning capacity, your federal tax returns for each of the
five (5) years preceding the injury you allege to be
caused by Taxotere® or Docetaxel, and every year              ☐     ☐
thereafter or W-2s for each of the five (5) years preceding
the injury you allege to be caused by Taxotere® or
Docetaxel, and every year thereafter.
If you claim any medical expenses, bills from any
physician, hospital, pharmacy or other healthcare             ☐     ☐
providers.
Records of any other expenses allegedly incurred as a
                                                              ☐     ☐
result of your alleged injury.
If you are suing in a representative capacity, letters
                                                              ☐     ☐
testamentary or letters of administration.


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                                                                           If No, who has the
                  Type of Document(s)                        Yes    No
                                                                              document(s)?
If you are suing in a representative capacity on behalf of
a deceased person, decedent’s death certificate and/or       ☐      ☐
autopsy report.
Photographs of you that are representative of your hair
composition before treatment with Taxotere® or               ☐      ☐
Docetaxel.
Photographs of you that are representative of your hair
composition during treatment with Taxotere® or               ☐      ☐
Docetaxel.
Photographs of you that are representative of your hair
composition six months after conclusion of treatment         ☐      ☐
with Taxotere® or Docetaxel.
Photographs of you that are representative of your hair
                                                             ☐      ☐
composition in present day.
Signed authorizations for medical records related to any
cancer treatment identified herein and all pharmacy
records from three (3) years before and three (3) years      ☐      ☐
after your first treatment with Taxotere in the forms
attached hereto.

X. DECLARATION

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that all of the
       information provided in connection with this Plaintiff Profile Form is true and correct to
       the best of my knowledge information and belief at the present time.

________________________                      ___________________
Signature                                     Date

XI. AUTHORIZATIONS

               See Attached Exhibit A.




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                            LIMITED AUTHORIZATION TO DISCLOSE HEALTH INFORMATION
                      Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03
                        (Excluding Psychiatric, Psychological, and Mental Health Treatment Notes/Records)

TO:
Patient Name:
DOB:
SSN:

                  I, _____________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe McCall LLP,
Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw & Culbertson LLP, Kirkland &
Ellis LLP and/or their duly assigned agents, copies of the following records and/or information from the time period of twelve (12) years
prior to the date on which the authorization is signed:

* All medical records, including inpatient, outpatient, and emergency room treatment, all clinical charts, reports, documents,
  correspondence, test results, statements, questionnaires/histories, office and doctor's handwritten notes, and records received by other
  physicians. Said medical records shall include all information regarding AIDS and HIV status.
* All autopsy, laboratory, histology, cytology, pathology, radiology, CT Scan, MRI, echocardiogram and cardiac catheterization reports.
* All radiology films, mammograms, myelograms, CT scans, photographs, bone scans,
  pathology/cytology/histology/autopsy/immunohistochemistry specimens, cardiac catheterization videos/CDs/films/reels, and
  echocardiogram videos.
* All pharmacy/prescription records including NDC numbers and drug information handouts/monographs.
* All billing records including all statements, itemized bills, and insurance records.
**Notwithstanding the broad scope of the above disclosure requests, the undersigned does not authorize the disclosure of notes or
records pertaining to psychiatric, psychological, or mental health treatment or diagnosis as such terms are defined by HIPAA, 45
CFR §164.501.

1. To my medical provider: this authorization is being forwarded by, or on behalf of, attorneys for the defendants for the
purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical history, care,
treatment, diagnosis, prognosis, information revealed by or in the medical records, or any other matter bearing on his or her
medical or physical condition, unless you receive an additional authorization permitting such discussion. Subject to all
applicable legal objections, this restriction does not apply to discussing my medical history, care, treatment, diagnosis,
prognosis, information revealed by or in the medical records, or any other matter bearing on my medical or physical condition
at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV).

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do so
in writing and present my written revocation to the health information management department. I understand the revocation will not
apply to information that has already been released in response to this authorization. I understand the revocation will not apply to my
insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked, this
authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need not
sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided in CFR
164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5. A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name:                                             (plaintiff/representative)


Signature: ______________________________________ Date


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                    LIM ITED AUTHORIZATIO N TO DISCLO SE EM PLOYM ENT
                      RECORDS AND INFORM ATION (HIPAA COM PLIANT
                     AUTHORIZATION FO RM PURSUANT TO 45 CFR 164.508)

T O:
         Name of Employer



         Address, City State and Zip Code

RE:      Employee Name:                                                    AKA:
         Date of Birth: ________________________ Social Security Number:

         Address:

I authorize the limited disclosure of my employment records including medical information protected by HIPAA,
45 CFR 164.508, for the purpose of review and evaluation in connection with a legal claim.

This authorization only authorizes release of records and/or information from the time period of seven (7)
years prior to the date on which this authorization is signed. I expressly request that all entities identified
above disclose full and complete records from the time period of seven (7) years prior to the date on which this
authorization is signed, including the following:

This will authorize you to furnish copies of all applications for employment; resumes; records of all positions
held; job descriptions of positions held; wage and income statements and/or compensation records; wage
increases and decreases; evaluations, reviews and job performance summaries; W-2s; employee health files, and
correspondence and memoranda regarding the undersigned.



I authorize you to release the information to:



Name (Records Requestor)



Street Address                                                 City                                  State and Zip Code

I intend that this authorization shall be continuing in nature. If information responsive to this authorization is created,
learned or discovered at any time in the future, either by you or another party, you must produce such information to
the Records Requestor at that time.

I acknowledge the right to revoke this authorization by writing to you at the above referenced address. However, /
understand that any actions already taken in reliance on this authorization cannot be reversed, and my revocation
will not affect those actions. Any facsimile, copy or photocopy of the authorization shall authorize you to release
the records herein.




Signature of Employee or Personal Representative           Date         Name of Employee or Personal Representative



Description of Personal Representative's Authority to Sign for Employee (attach documents that show authority)




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                               LIMITED AUTHORIZATION FOR
                                  RELEASE OF WORKERS'
                                 COMPENSATION RECORDS


To:
                       Name


                       Address


                       City, State and Zip Code

      This will authorize you to furnish copies of any and all workers' compensation records
of any sort for any workers’ compensation claims filed within the last ten (10) years,
including, but not limited to, statements, applications, disclosures, correspondence, notes,
settlements, agreements, contracts or other documents, concerning:


                                           Name of Claimant

 whose date of birth is ______________and whose social security number is



       You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.



        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code


        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.




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        This authorization shall be considered as continuing in nature and is to be given full force
and effect to release information of any of the foregoing learned or determined after the date hereof.
It is expressly understood by the undersigned and you are authorized to accept a copy or photocopy
of this authorization with the same validity as through the original had been presented to you.


Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                       LIMITED AUTHORIZATION FOR RELEASE OF
                             DISABILITY CLAIMS RECORDS



To:
                        Name


                        Address


                        City, State and Zip Code


        This will authorize you to furnish copies of any and all records of disability claims of any
sort for any disability claim(s) filed within the last ten (10) years, including, but not limited to,
statements, applications, disclosures, correspondence, notes, settlements, agreements, contracts or
other documents, concerning:

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is


        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.


        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                      FOR RELEASE OF
                                 HEALTH INSURANCE RECORDS


To:
                        Name


                        Address


                        City, State and Zip Code

        This will authorize you to furnish copies of any and all insurance claims applications and
benefits, and all medical, health, hospital, physicians, nursing or allied health professional reports,
records or notes, invoices and bills, in your possession that pertain to the named insured identified
below. This authorization only authorizes release of Health Insurance records and/or
information from the time period of ten (10) years prior to the date on which this authorization
is signed.

                                            Name of Claimant

 whose date of birth is ______________and whose social security number is
        You are authorized to release the above records to the following representatives of
defendants in the above-entitled matter, who have agreed to pay reasonable charges made by you to
supply copies of such records.

        Name of Representative
        Records Requestor
        Representative Capacity (e.g., attorney, records requestor, agent, etc.)


        Street Address


        City, State and Zip Code




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        This authorization only authorizes release of documents and records from the period of ten
(10) years prior to the date on which this authorization is signed. This authorization does not
authorize you to disclose anything other than documents and records to anyone.
        This authorization is not valid unless the record requestor named above has executed the
acknowledgement at the bottom of this authorization.
        This authorization shall be considered as continuing in nature and is to be given full force and
effect to release information of any of the foregoing learned or determined after the date hereof. It is
expressly understood by the undersigned and you are authorized to accept a copy or photocopy of
this authorization with the same validity as through the original had been presented to you.



Date:
                                                        Claimant Signature
                                                        [NAME]




Date:
                                                        Witness Signature




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                                LIMITED AUTHORIZATION TO DISCLOSE PSYCHIATRIC,
                    PSYCHOLOGICAL AND/OR MENTAL HEALTH TREATMENT NOTES/RECORDS
                   (Pursuant to the Health Insurance Portability and Accountability Act "HIPAA" of 4/14/03)

TO:
Patient Name:
DOB:
SSN:

         I, ________________________ , hereby authorize you to release and furnish to: Shook Hardy & Bacon LLP, Keogh Cox &
         Wilson Ltd., Ulmer & Berne LLP, Greenberg Traurig LLP, Wheeler Trigg O’Donnell LLP, Adams and Reese LLP, Chaffe
         McCall LLP, Quinn Emanuel Urquhart & Sullivan LLP, Morrison & Foerster LLP, Leake & Anderson LLP, Hinshaw &
         Culbertson LLP, Kirkland & Ellis LLP and/or their duly assigned agents, copies of the following records and/or information
         from the time period of ten (10) years prior to the date on which the authorization is signed:

     •   All “psychotherapy notes”, as such term is defined by the Health Insurance Portability and Accountability Act, 45 CFR
         §164.501. Under HIPAA, the term “psychotherapy notes” means notes recorded (in any medium) by a health care provider
         who is a mental health professional documenting or analyzing the contents of conversations during a private counseling session
         or a group, joint or family counseling session and that are separated from the rest of the individual’s record. This authorization
         does not authorize ex parte communication concerning same.

1. To my medical and/or mental health provider: this authorization is being forwarded by, or on behalf of, attorneys for the
defendants for the purpose of litigation. You are not authorized to discuss any aspect of the above-named person's medical
history, mental health history, care, treatment, diagnosis, prognosis, information revealed by or in the medical or mental
health records, or any other matter bearing on his or her medical, psychological, or physical condition, unless you receive
an additional authorization permitting such discussion. Subject to all applicable legal objections, this restriction does not
apply to discussing my medical history, mental health history, care, treatment, diagnosis, prognosis, information revealed
by or in the medical or mental health records, or any other matter bearing on my medical, psychological, or physical
condition at a deposition or trial.

2. I understand that the information in my health record may include information relating to sexually transmitted disease, acquired
immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It may also include information about behavioral or
mental health services, and treatment for alcohol and drug abuse.

3. I understand that I have the right to revoke this authorization at any time. I understand that if I revoke this authorization I must do
so in writing and present my written revocation to the health information management department. I understand the revocation will
not apply to information that has already been released in response to this authorization. I understand the revocation will not apply to
my insurance company when the law provides my insurer with the right to contest a claim under my policy. Unless otherwise revoked,
this authorization will expire in one year.

4. I understand that authorizing the disclosure of this health information is voluntary. I can refuse to sign this authorization. I need
not sign his form in order to assure treatment. I understand I may inspect or copy the information to be used or disclosed as provided
in CFR 164.524. I understand that any disclosure of information carries with it the potential for an unauthorized re-disclosure and the
information may not be protected by federal confidentiality rules. If I have questions about disclosure of my health information, I can
contact the releaser indicated above.

5.   A notarized signature is not required. CFR 164.508. A copy of this authorization may be used in place of an original.

Print Name: ____________________________________ (plaintiff/representative)

Signature: ______________________________________ Date ________________




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